                   UNITED STATES BANKRUPTCY COURT
                      NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION
In re                                )
                                     ) Case No: 21-05832
Megan L. Leonard,                    ) Chapter: 13
              Debtor.                )
                                     ) Judge: Hon. Carol A. Doyle

                                  NOTICE OF MOTION
TO: See attached service list
       PLEASE TAKE NOTICE that on June 15, 2021 at 9:30 a.m., or soon thereafter as
I may be heard, I shall appear before the Honorable Carol A. Doyle, or any judge sitting
in that judge's place, and present the motion of Nissan Motor Acceptance Corporation
("Movant"), to Modify the Automatic Stay, a copy of which is attached.
      This motion will be presented and heard electronically using Zoom for
Government. No personal appearance in court is necessary or permitted. To appear
and be heard on the motion, you must do the following:
      To appear by video, use this link: https://www.zoomgov.com/. Then enter the
meeting ID and password.
      To appear by telephone, call Zoom for Government at 1-669-254-5252 or 1-646-
828-7666. Then enter the meeting ID and password.
       Meeting ID and password. The meeting ID for this hearing is 161 155 8289 and
the password is Doyle742. The meeting ID and password can also be found on the judge's
page on the court's web site.


       If you object to this motion and want it called on the presentment date above,
you must file a Notice of Objection no later than two (2) business days before that date.
If a Notice of Objection is timely filed, the motion will be called on the presentment date.
If no Notice of Objection is timely filed, the court may grant the motion in advance
without a hearing.
                                              BONIAL & ASSOCIATES, P.C.
                                              /s/ Wesley T. Kozeny
                                              Wesley T. Kozeny / # 6199471
                                              12400 Olive Blvd, Suite 555
                                              St. Louis, Missouri 63141
                                              Phone: (314) 991-0255
                                              Fax: (314) 991-6755
                                              ILBK@BonialPC.com
                                              Attorney for Nissan Motor Acceptance
                                              Corporation

mwsNtcMfrILN00                                                                     5930-N-8674
                                 CERTIFICATE OF SERVICE

I hereby certify that a copy of this notice and the attached motion was served on each
entity shown on the attached list at the address shown and by the method indicated on
the list on May 19, 2021.


                                            Respectfully Submitted

                                            /s/ Wesley T. Kozeny
                                            Wesley T. Kozeny

                                      Service List:

Debtor's Attorney                        via Electronic Notice via CM/ECF
David M. Siegel
David M. Siegel & Associates
790 Chaddick Drive
Wheeling, Illinois 60090

Chapter 13 Trustee                       via Electronic Notice via CM/ECF
M.O. Marshall
55 East Monroe St., Suite 3850
Chicago, Illinois 60603

US Trustee                               via Electronic Notice via CM/ECF
Office of the U.S.Trustee
219 S. Dearborn St., Room 873
Chicago, Illinois 60604

Debtor                                   via U.S. Mail
Megan L. Leonard
11154 S. Troy Street
Chicago, Illinois 60655




mwsCOSNtcILN00                                                                5930-N-8674
                         UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION
In re                                           )
                                                ) Case No: 21-05832
Megan L. Leonard,                               ) Chapter: 13
              Debtor(s).                        )
                                                ) Judge: Hon. Carol A. Doyle



                    MOTION FOR RELIEF FROM AUTOMATIC STAY


        COMES NOW Nissan Motor Acceptance Corporation, its subsidiaries, affiliates,

predecessors in interest, successors and/or assigns ("Movant"), through the undersigned

counsel, pursuant to Federal Rules of Bankruptcy Procedure 4001 and 9014, and states

as follows in support of its Motion herein:

        REQUIRED STATEMENT (Form G-4) IS ANNEXED HERETO AND FILED

        HEREWITH AS REQUIRED BY LOCAL RULE 4001-1

        1.     On May 03, 2021, the Debtor, above-named, filed a voluntary petition in

Bankruptcy under Title 11, Chapter 13, U.S.C., in the United States Bankruptcy Court, for

the Northern District of Illinois.

        2.     The Court has jurisdiction over this matter pursuant to 28 U.S.C. Sections

151, 157 and 1334 and applicable local rules. This is a core proceeding pursuant to 28

U.S.C. Section 157(b)(2). Venue is proper in this District under 28 U.S.C. Section 1409(a).

        3.     The Debtor, Megan L. Leonard, ("Obligor(s)") is indebted to Movant

pursuant to a Retail Installment Contract (the "Debt Obligation"). A copy of the Debt




mwsUnivMFR0000                                                                   5930-N-8674
Obligation is attached hereto and incorporated herein as Exhibit A. Movant is entitled to

enforce the Debt Obligation, which matured April 30, 2021.

       4.       As security for repayment of the Debt Obligation the Obligor(s) have

pledged      certain   collateral   described   as   2015   Nissan    Rogue     AWD,     VIN:

KNMAT2MV5FP507165 ("Collateral"). A copy of the proof of perfection of Movant's

interest is in the Collateral ("Security Interest") is attached hereto and incorporated herein

as Exhibit B.

       5.       All rights and remedies under the Debt Obligation and Security Interest have

been assigned to the Movant by the terms of the Debt Obligation itself.

       6.       As of May 07, 2021, the outstanding indebtedness owed to Movant less any

partial payments or suspense balance is $9,549.59.

       7.       As of May 07, 2021, the clean loan value of the Collateral is $10,600.00.

The basis for this value is NADA estimate of value. A copy of said valuation is attached

hereto as Exhibit C.

       8.       The Debt Obligation matured 4/30/2021 and the remaining balance is due

and payable in the amount of $9,549.59.


       9.       The address to which payments are to be made to Movant is:

                Nissan Motor Acceptance Corporation
                P.O. Box 660366
                Dallas, Texas 75266-0366
       10.      Additional cause for which relief should be granted to Movant include:

                A.     Movant has no proof that the vehicle is presently insured naming

                Movant as the loss payee.

                B.     This case is the Debtor’s third (3rd) Chapter 13 case filed by the

                Debtor in the last 2 ¼ years. The two prior cases were dismissed for failure

mwsUnivMFR0000                                                                      5930-N-8674
             to make Chapter 13 Plan payments. Those cases are as follows:

                 19-03811     Ch13 filed in Illinois Northern Bankruptcy on 02/13/2019,

                 Dismissed for failure to make plan payments on 05/13/2019

                 19-16133     Ch13 filed in Illinois Northern Bankruptcy on 06/05/2019,

                 Dismissed for failure to make plan payments on 03/01/2021



      11.    Cause exists for relief from the automatic stay under 11 U.S.C. §362(d) for

the following reasons:

             a.       11 U.S.C. §362(d)(1) - For cause in that the Debt Obligation has

                      matured, payments required to be made by Obligors to Movant are

                      not being made as required by the Debt Obligation, Movant has no

                      proof of current insurance, and this is the Debtor’s third Chapter 13

                      case in the last 2 ¼ years.

             b.       11 U.S.C. §362(d)(2)(A) & (B) - Debtor enjoys no equity in the

                      Collateral beyond the debt and estimated costs of liquidation and the

                      Collateral is not necessary for an effective reorganization.

             WHEREFORE, Movant prays that this Court issue an Order:

             1.       Terminating or modifying the stay imposed by 11 U.S.C. 362(a)

                      allowing Movant (and any successors or assigns) to proceed under

                      applicable non-bankruptcy law to enforce its remedies in and to the

                      Collateral.

             2.       That the Order be binding and effective despite any conversion of

                      the bankruptcy case to a case under any other chapter of Title 11 of

                      the United States Code.

mwsUnivMFR0000                                                                       5930-N-8674
             3.   That the 14-day stay described by Bankruptcy Rule 4001(a)(3) be

                  waived.

             4.   Alternatively, an adequate protection order providing that Debtor

                  shall remain strictly current on Plan payments and maintain and

                  provide proof of adequate insurance, or Movant will automatically be

                  entitled to stay modification.

             5.   For such other relief as the Court deems proper.


Dated: May 19, 2021

                                           BONIAL & ASSOCIATES, P.C.

                                           /s/ Wesley T. Kozeny
                                           Wesley T. Kozeny / # 6199471
                                           12400 Olive Blvd, Suite 555
                                           St. Louis, Missouri 63141
                                           Phone: (314) 991-0255
                                           Fax: (314) 991-6755
                                           ILBK@BonialPC.com
                                           Attorney for Nissan Motor Acceptance
                                           Corporation




mwsUnivMFR0000                                                              5930-N-8674
Form G-4

                                          REQUIRED STATEMENT
                                TO ACCOMPANY MOTIONS FOR RELIEF FROM STAY
   Debtor(s) Megan L. Leonard                                               Case No.         21-05832            Chapter 13

   Moving Creditor Nissan Motor Acceptance Corporation                                        Date Case Filed 05/03/2021

   Nature of Relief Sought         Lift Stay        Annual Stay             Other (describe)

   Date of Confirmation Hearing            06/22/2021         or      Date Plan Confirmed

   1.       Collateral
            a.         Home
            b.         Car Year, Make Model                 2015 Nissan Rogue AWD, VIN: KNMAT2MV5FP507165
            c.         Other (describe)

   2.       Balance Owed as of Petition Date          $9,549.59
            Total of all other Liens against Collateral

   3.       In chapter 13 cases, if a post-petition default is asserted in the motion, attach a payment history listing the
            amounts and dates of all payments received from the debtor(s) post-petition.
   4.       Estimated Value of Collateral (must be supplied in all cases)

   5.       Default
            a.         Pre-Petition Default
                      Number of months                                Amount:

            b.         Post-Petition Default
                      Number of months                                Amount:

                      i.           On direct payments to the moving creditor
                                  Number of months      Matured           Amount: $9,549.59

                      ii.          On payments to the Standing Chapter 13 Trustee
                                  Number of months                        Amount:

   6.       Other Allegations
            a.        Lack of Adequate Protection § 362(d)(1)
                     i.        No insurance
                     ii.       Taxes unpaid                 Amount
                     iii.      Rapidly depreciating asset
                     iv.       Other (describe):

            b.         No Equity and not Necessary for an Effective Reorganization § 362(d)(2)

            c.         Other "Cause" § 362(d)(1)

                      i.           Bad Faith (describe)          3rd case filed following repossession of Collateral
                      ii.          Multiple Filings
                      iii.         Other (describe):
            d.        Debtor's Statement of Intention regarding the Collateral
                      1. Reaffirm ii. Redeem iii.  Surrender                       iv. No Statement of Intention Filed


   Date:                    May 19, 2021                                                    /s/ Wesley T. Kozeny
                                                                                             Counsel for Movant




   mwsLFG4ILN0000                                                                                               5930-N-8674
EXHIBIT - A
EXHIBIT - B
EXHIBIT - C
